             Case 19-10289-LSS         Doc 3688      Filed 06/15/21     Page 1 of 8



                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

 IN RE:                                          §         Chapter 11
                                                 §
 IMERYS TALC AMERICA INC., et al.                §          CASE NO. 19-10289 (LSS)
                                                 §
                      Debtors.                   §          D.I. Nos. 3624

               WILLIAMS HART PLAINTIFFS’ OBJECTION TO
         MOTION OF HOLDERS OF TALC PERSONAL INJURY CLAIMS
   REPRESENTED BY ARNOLD & ITKIN LLP TO DISREGARD CERTAIN VOTE
   CHANGES MADE WITHOUT COMPLYING WITH BANKRUPTCY RULE 3018,
    AND THE REQUIRED SHOWING OF CAUSE, IN CONNECTION WITH THE
       VOTING ON THE NINTH AMENDED JOINT CHAPTER 11 PLAN OF
    REORGANIZATION OF IMERYS TALC AMERICA, INC. AND ITS DEBTOR
   AFFILIATES UNDER CHAPTER 11 OF THE BANKRUPTCY CODE [DOC. 3624]

       Williams Hart Boundas Easterby, LLP, on behalf of certain personal injury claimants

(“William Hart Plaintiffs”), by and through their undersigned counsel, hereby file this Objection

(“Objection”) to the Motion to Disregard Certain Vote Changes Made Without Complying With

Bankruptcy Rule 3018, and the Required Showing of Cause in Connection With the Voting on the

Ninth Amended Joint Chapter 11 Plan of Reorganization of Imerys Talc America, Inc. and its

Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket No. 3624] (the “Motion”)

filed by Arnold & Itkin LLP (“Movant”). In support of the Objection, the Williams Hart Plaintiffs,

by and through their counsel, respectfully represent as follows:


                              I.     PRELIMINARY STATEMENT

       1.      Movant seeks to disregard certain ballots representing more than 17,000 votes in

favor of accepting the Plan, including 493 Williams Hart Plaintiffs. Movant further seeks to

convert those acceptance votes to rejection votes. The Williams Hart Plaintiffs initially cast a

Master Ballot rejecting the Plan (“Initial Ballot”), and then submitted a subsequent Master Ballot

accepting the Plan (“Superseding Ballot”) after the deadline to submit ballots. The Debtor, with


                                            Page 1 of 8
               Case 19-10289-LSS           Doc 3688    Filed 06/15/21   Page 2 of 8



the consent of the Plan Proponents, granted the Williams Hart Plaintiffs a voting extension, in

conformity with the Solicitation Procedures Order. The existence of a provision in the Solicitation

Procedures allowing for such superseding votes, agreed to by the Plan Proponents, is to eliminate

the need for separate notice and a hearing pursuant to Bankruptcy Rule 3018 in order to approve a

vote change. Thus, the Superseding Ballot of the Williams Hart Ballot should not be disregarded.

          2.    The Williams Hart Plaintiffs agree that the integrity of the voting process is

fundamental to the confirmation of a plan of reorganization and they have acted in strict

compliance with the Court-approved Solicitation Procedures. Movant has not presented any

admissible evidence of bad faith or impropriety by the Williams Hart Plaintiffs, the Debtor or the

Plan Proponents, and does not identify any breach of any provision of the Solicitation Procedures.

Thus, Movant has not rebutted the presumption established in the Solicitation Procedures that the

Williams Hart Plaintiffs had sufficient cause to change their votes. As such, Movant’s request to

disregard the Superseding Ballot of the Williams Hart Plaintiffs is without merit and should be

denied.


                                II.     FACTUAL BACKGROUND

          3.    On January 27, 2021, the Court entered the Solicitation Procedures Order, which

established the Voting Deadlines as “March 25, 2021, at 4:00 p.m. (Prevailing Eastern Time);

provided that the Debtors are authorized to extend the Voting Deadline for any party entitled to

vote on the Plan[.]” See Solicitation Procedures Order at ¶ 5.

          4.    The Solicitation Procedures direct the Debtors’ solicitation agent, Prime Clerk LLC

(“Prime Clerk”), to count superseding ballots submitted on or before the March 25, 2021 Voting

Deadline, or such later date as agreed to by the Debtors with the consent of the Plan Proponents.

See Solicitation Procedures at § VI.2.f.


                                              Page 2 of 8
             Case 19-10289-LSS          Doc 3688      Filed 06/15/21      Page 3 of 8



        5.     The Solicitation Procedures further provide a “rebuttable presumption that any

claimant who submits a properly completed superseding Ballot . . . on or before the Voting

Deadline has sufficient cause, within the meaning of Bankruptcy Rule 3018(a), to change . . . such

claimant’s acceptance or rejection of the Plan.” See Solicitation Procedures at § VI.2.h.

        6.     To be included in the tabulation results as valid, a ballot must have been (i) properly

completed pursuant to the Solicitation Procedures, (ii) executed by the relevant holder entitled to

vote on the Plan (or such holder’s authorized representative), (iii) returned to the Debtors’

solicitation agent, Prime Clerk LLC (“Prime Clerk”) via an approved method of delivery set forth

in the Solicitation Procedures, and (iv) received by Prime Clerk on the Voting Deadline, except to

the extent such Voting Deadline was extended by the Debtors, with the consent of the Plan

Proponents. See Supplemental Voting Declaration at ¶ 8, attached as Exhibit A to Doc. 3640,

incorporated herein (emphasis added).

        7.     On March 25, 2021, prior to the expiration of the Voting Deadline, the Williams

Hart Plaintiff submitted their Initial Ballot to Prime Clerk indicating that they were rejecting the

Plan.

        8.     Subsequent to expiration of the voting deadline, and as permitted by the Solicitation

Procedures, the Debtors, with the consent of the Plan Proponents, extended the Voting Deadline

to allow the Williams Hart Plaintiffs to submit their Superseding Ballot, which indicated they were

accepting the Plan.

        9.     The Debtors directed Prime Clerk to count only superseding votes where multiple

ballots were cast by the same claimant, in order to avoid double counting. See Suppl. Voting Decl.

at ¶ 16, attached as Exhibit A to Doc. 3640. Accordingly, the Second Ballot supersedes the First

Ballot such that only the votes accepting the Plan will tabulated.



                                             Page 3 of 8
              Case 19-10289-LSS           Doc 3688        Filed 06/15/21   Page 4 of 8



       10.     Thereafter, Movant filed its Motion to disregard, among other votes, the Second

Ballot of the Williams Hart Plaintiffs.


                                          III.      ARGUMENT

A.     The Rebuttable Presumption that Sufficient Cause Exists to Change Votes

       11.     The Solicitation Procedures provide that:

               if multiple Ballots are received from the same attorney or agent with
               respect to the same Claim (but not from the holder thereof), the
               latest-dated otherwise valid Ballot that is received before the Voting
               Deadline (or such later date as agreed by the Debtors with the
               consent of the Plan Proponents, with such consent not to be
               unreasonably withheld) will be the Ballot that is counted as a vote
               to accept or reject the Plan.

Solicitation Procedures at § VI.2.h. Thus, Prime Clerk was required to count the latest-dated ballot

received from the Williams Hart Plaintiffs, before or after the Voting Deadline, if agreed to by the

Debtors with the consent of the Plan Proponents.

       12.     In the event a superseding ballot was received, the Solicitation Procedures further

provide that “[t]here will be a rebuttable presumption that any claimant who submits a properly

completed superseding Ballot or withdrawal of a Ballot on or before the Voting Deadline has

sufficient cause, within the meaning of Bankruptcy Rule 3018(a), to change or withdraw such

claimant’s acceptance or rejection of the Plan.” Id. at § VI.2.f (emphasis added) (the “Rebuttable

Presumption Provision”).

       13.     These provisions allow the Williams Hart Plaintiffs to submit superseding ballots

after the Voting Deadline, if an extension to such Voting Deadline is agreed to by the Debtors,

with the consent of the Plan Proponents, and create a rebuttable presumption that the Williams

Hart Plaintiffs acted with cause in changing theirs votes within the meaning of Bankruptcy Rule

3018(a), thus eliminating the need for a separate notice and a hearing.


                                                 Page 4 of 8
             Case 19-10289-LSS         Doc 3688         Filed 06/15/21   Page 5 of 8



       14.     The Superseding Ballot was appropriately included in the vote tabulation without

the need for the Williams Hart Plaintiffs to seek separate notice and a hearing under Bankruptcy

Rule 3018 because the Plan Proponents consented to the late submission of the Superseding Ballot.

       15.     Movant fails to adequately explain why the Second Ballot should be disregarded in

light of the fact that the Debtors, with the consent of the Plan Proponents, granted the Williams

Hart Plaintiffs an extension of the Voting Deadline, which is expressly permitted by, and was

provided in accordance with, the terms of the Solicitation Procedures – thereby extending the

Voting Deadline – which resulted in a rebuttable presumption that the Williams Hart Plaintiffs had

cause to change and/or withdraw their Initial Ballot.

       16.     Provisions authorizing debtors to extend a voting deadline are routinely approved

in solicitation procedures in this District (both in the mass tort context and otherwise) and are

commonly utilized by debtors in practice. See, e.g., In re APC Auto. Techs. Intermediate Holdings,

LLC, No. 20-11466 (CSS) (Bankr. D. Del. July 8, 2020) [Docket No. 166] (debtors extended

voting deadline in accordance with solicitation procedures to permit tabulation of late-filed

accepting votes); In re TK Holdings Inc., No. 17-11375 (BLS) (Bankr. D. Del. Feb. 16, 2018)

[Docket No. 2100] (voting deadline was extended by the Debtors by six weeks consistent with the

court-approved solicitation procedures); In re 24 Hour Fitness WorldWide, Inc., No. 20-11558

(KBO) (Bankr. D. Del. Nov. 17, 2020) [Docket No. 1243] (solicitation procedures authorize debtor

to grant extension of voting deadline at sole discretion); In re Akorn, Inc., No. 20-11177 (KBO)

(Bankr. D. Del. July 2, 2020) [Docket No. 318] (same); In re Achaogen, Inc., No. 19-10844 (BLS)

(Bankr. D. Del. April 21, 2020) [Docket No. 654] (same); In re Cloud Peak Energy, Inc., No. 19-

11047 (KG) (Bankr. D. Del. Oct. 4, 2019) [Docket No. 685] (same); In re Yarway Corp., No. 13-

11025 (BLS) (Bankr. D. Del. Jan. 27, 2015) [Docket No. 756] (same); In re Leslie Controls, Inc.,

No. 10-12199 (CSS) (Bankr. D. Del. Aug. 19, 2010) [Docket No. 166] (same).

                                            Page 5 of 8
               Case 19-10289-LSS        Doc 3688      Filed 06/15/21     Page 6 of 8



        17.     Movant argues that the Solicitation Procedures “do not provide the same rebuttable

presumption under Rule 3018 for votes submitted after the Voting Deadline even if the Debtors

and Plan Proponents permit such votes to be submitted after the Voting Deadline.” Motion at ¶ 20.

However, Movant’s reading of the Solicitation Procedures ignores the fact that the Debtors can

extend the voting deadline, with the consent of the Plan Proponents. Movant’s reading of the

Solicitation Procedures also ignores the fact that Section VI.2.h. requires Prime Clerk to count

superseding ballots received before the Voting Deadline or such later date as agreed by the Debtors

with the consent of the Plan Proponents. See id. at § VI.2.h.

        18.     It is clear that the Rebuttable Presumption Provision is intended to apply equally to

claimants that submit properly completed superseding ballots on or before the Voting Deadline as

such deadline may be extended as agreed by the Debtors with the consent of the Plan Proponents.

See United States v. Nee, 573 F. App’x 37, 39 (2d Cir. 2014) (“When interpreting a particular

provision of a [order], ‘we are required . . . to read that provision in light of the [order] as a

whole.’”) (internal citation omitted); In re Dura Auto. Sys., Inc., 379 B.R. 257, 268 (Bankr. D. Del.

2007) (“[R]ead the contract as a whole and consider all parts of the whole and not give undue force

to certain words or phrases that would distort or confuse the primary and dominant purpose of the

contract.”).

B.      Bankruptcy Rule 3018(a)

        19.     The Williams Hart Plaintiffs were not required to file a Bankruptcy Rule 3018

motion in order to change their votes. Their compliance with the Solicitation Procedures creates a

rebuttable presumption that they had sufficient cause, within the meaning of Bankruptcy Rule

3018(a), to change their votes to accept the Plan. Yet, Movant argues that the Williams Hart

Plaintiffs still had to file a motion under Rule 3018 and get Court approval to change their votes.



                                             Page 6 of 8
             Case 19-10289-LSS         Doc 3688      Filed 06/15/21     Page 7 of 8



       20.     It is routine and customary for claimants to cast superseding votes in accordance

with court-approved solicitation procedures and without seeking separate notice and a hearing. See

In re BBGI US, Inc., No. 20- 11785 (CSS) (Bankr. D. Del. March 3, 2021) [Docket No. 1085]

(final tabulation excluded ballots that were superseded by later received valid ballots, consistent

with solicitation procedures); In re GNC Holdings, Inc., No. 20-11662 (KBO) (Bankr. D. Del. Oct.

8, 2020) [Docket No. 1350] (same); In re TK Holdings, Inc., No. 17-11375 (BLS) (Bankr. D. Del.

Feb. 16, 2018) [Docket No. 2100] (same).

       21.     If Movant took issue with the Rebuttable Presumption Provision of the Solicitation

Procedures, it could have objected to that provision. It did not do so. Thus, Movant has waived

any arguments with respect to whether a Rule 3018 motion should be required before a claimants

changes its vote.

       22.     However, even if this Court were to decide that Rule 3018 should apply to the

Solicitation Procedures, despite the Rebuttable Presumption Provision, Rule 3018 provides that

“[f]or cause shown, the court after notice and a hearing may permit a creditor or equity security

holder to change or withdraw an acceptance or rejection.” “Cause” is not defined in Bankruptcy

Rule 3018, and is “left up to the court to determine in the exercise of its discretion.” See In re

MPM Silicones, LLC, No. 14-22503-rdd, 2014 WL 4637175, at *1-2 (Bankr. S.D.N.Y. Sept. 17,

2014). In analyzing Bankruptcy Rule 3018(a), courts have determined that the test for determining

whether cause exists is not a difficult one to meet. See In re Kellogg Square P’ship, 160 B.R. 332,

334 (Bankr. D. Minn. 1993).

       23.     If this Court were to retroactively require a separate notice and a hearing pursuant

to Rule 3018 in order for the Williams Hart Plaintiffs to change their votes, the Williams Hart

Plaintiffs request that the Court provide them with the opportunity to file a motion pursuant to

Rule 3018 prior to ruling on the relief sought by Movant in the Motion.

                                            Page 7 of 8
              Case 19-10289-LSS           Doc 3688       Filed 06/15/21    Page 8 of 8



                                          IV.     CONCLUSION

       The Motion, along with Movant’s simultaneous efforts to re-open discovery regarding the

solicitation process, demonstrate Movant’s disappointment with the results of the voting on the

Plan. However, such disappointment does not entitle a creditor to disregard the votes of hundreds

(or thousands) of other creditors. As described in detail above, the Williams Hart Plaintiffs, the

Debtor and the Plan Proponents complied with the express terms of the Solicitation Procedures.

Movant has not presented evidence that would warrant this Court disregarding the Superseding

Ballot of the Williams Hart Plaintiffs.

       For the reasons cited in this Objection, the Motion should be denied. Further, the William

Hart Plaintiffs expressly reserve and preserve their rights to supplement this Objection at any time

up to and including the hearing to consider the Motion.

Dated: June 15, 2021
       Wilmington, Delaware

                                                 THE ROSNER LAW GROUP LLC

                                                 /s/ Jason A. Gibson
                                                 Jason A. Gibson (DE 6091)
                                                 824 N. Market Street, Suite 810
                                                 Wilmington, DE 19801
                                                 Telephone: (302) 777-1111
                                                 gibson@teamrosner.com

                                                 -and-

                                                 ANDREWS MYERS, P.C.
                                                 LISA M. NORMAN (pro hac)
                                                 State Bar No. 24037190
                                                 1885 Saint James Place, 15th Floor
                                                 Houston, Texas 77056
                                                 (713) 850-4200 – Telephone
                                                 lnorman@andrewsmyers.com

                                                 Special Bankruptcy Counsel
                                                 to the Williams Hart Plaintiffs

                                                Page 8 of 8
